       Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 1 of 25



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


MOHAMMAD IBRAHIM BAZZI,

                  Plaintiff,

         v.                                   Civil Action No. 19-cv-00484 (RM)

ANDREA M. GACKI, in her official
capacity as Director of the U.S. Department
of the Treasury, Office of Foreign Assets
Control, and UNITED STATES
DEPARTMENT OF THE TREASURY,
OFFICE OF FOREIGN ASSETS
CONTROL,

                  Defendants.


  COMBINED REPLY IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY
JUDGMENT AND MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                       SUMMARY JUDGMENT
                        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 2 of 25



                                                           TABLE OF CONTENTS

INTRODUCTION ......................................................................................................................................1

ARGUMENT ..............................................................................................................................................2

I.        Bazzi Cannot Assert a Due Process Claim, and Even If He Could, Defendants Provided Him
          with More Notice Than was Due. ................................................................................................... 2
     A.        Bazzi Cannot Establish A Connection to the United States Warranting Due Process Protection
               and His Argument Lacks Supporting Precedent ......................................................................... 2
          1.          Bazzi Fails To Provide Precedent Showing That He May Assert A Due Process Claim
                      Here ......................................................................................................................................3
          2.          Bazzi Has Not Shown a Connection to the United States Warranting Due Process ...........6
     B.        Defendants Have Provided Bazzi Ample Notice, and Thus his Due Process Claim Fails on the
               Merits. ......................................................................................................................................... 8
          1.          IEEPA Allows Defendants to Use Undisclosed Classified Information, and Courts
                      Regularly Allow the Practice. ..............................................................................................9
          2.          Bazzi’s Complaints with the Extensive Notice Defendants Provided Do Not Establish a
                      Due Process Violation........................................................................................................12

II.       Bazzi Confirms that his APA Claim Lacks Any Statutory Foundation and is Without
          Precedent ....................................................................................................................................... 15

III.      Bazzi Cannot Show Entitlement to Relief Because Ample Evidence Supports His Designation as
          a SDGT and He Did Not Dispute the Basis for His Designation ................................................. 16

CONCLUSION .........................................................................................................................................18




                                                                                      i
            Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 3 of 25



                                                 TABLE OF AUTHORITIES

Cases

Al Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury,
  585 F. Supp. 2d 1233 (D. Or. 2008) ......................................................................................... 16

Al Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury,
  686 F.3d 965 (9th Cir. 2012) ............................................................................................. passim

Am-Arab Anti-Discrimination Comm. v. Reno,
  70 F.3d 1045 (9th Cir. 1995) ...................................................................................................... 9

Boumediene v. Bush,
  553 U.S. 723 (2008) .................................................................................................................... 5

Carter v. Nat'l Sec. Agency,
  962 F. Supp. 2d 130 (D.D.C. 2013) .......................................................................................... 10

Chai v. U.S. Dep’t of State,
  466 F.3d 125 (D.C. Cir. 2006) .................................................................................................. 18

*32 Cty. Sovereignty Comm. v. U.S. Dep’t of State,
  292 F.3d 797 (D.C. Cir. 2002) ............................................................................................ 5, 7, 8

*Fares v. Smith,
  249 F. Supp. 3d 115 (D.D.C. 2017) ................................................................................... passim

Fares v. Smith,
  901 F.3d 315 (D.C. Cir. 2018) ................................................................................ 10, 11, 12, 14

FBME Bank Ltd. v. Lew,
  125 F. Supp. 3d 109 (D.D.C. 2015) ...................................................................................... 9, 12

FBME Bank Ltd. v. Lew,
  209 F. Supp. 3d 299 (D.D.C. 2016) .......................................................................................... 10

Hernandez v. United States,
  757 F.3d 249 (5th Cir. 2014) ...................................................................................................... 4

Hernandez v. United States,
  785 F.3d 117 (5th Cir. 2015), vacated & remanded sub nom. Hernandez v. Mesa, 137 S. Ct.
  2003 (2017) ................................................................................................................................. 4

Hill v. U.S. Parole Comm'n,
  No. CV 16-1476 (JEB), 2017 WL 2414446 (D.D.C. June 2, 2017) ......................................... 16

*Holy Land Found. for Relief & Dev. v. Ashcroft,
  333 F.3d 156 (D.C. Cir. 2003) ........................................................................................ 9, 10, 11
                                                                       ii
            Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 4 of 25



Howmet Corp. v. EPA,
  614 F.3d 544 (D.C. Cir. 2010) .................................................................................................. 16

Howmet Corp. v. EPA,
  656 F. Supp. 2d 167 (D.D.C. 2009) .......................................................................................... 16

In re Anthem, Inc. Data Breach Litig.,
   236 F. Supp. 3d 150 (D.D.C. 2017) ............................................................................................ 9

Islamic Am. Relief Agency v. Gonzales,
   477 F.3d 728 (D.C. Cir. 2007) .................................................................................................. 17

*Jifry v. FAA,
  370 F.3d 1174 (D.C. Cir. 2004) .................................................................................. 3, 4, 10, 18

Jo v. Dist. Of Columbia,
  582 F. Supp. 2d 51 (D.D.C. 2008) ........................................................................................ 6, 17

Joumaa v. Mnuchin,
  No. CV 17-2780 (TJK), 2019 WL 1559453 (D.D.C. Apr. 10, 2019) ................................. 14, 17

Kadi v. Geithner,
  42 F. Supp. 3d 1 (D.D.C. 2012) ........................................................................................ 3, 5, 15

Kiareldeen v. Ashcroft,
  273 F.3d 542 (3d Cir. 2001)...................................................................................................... 13

KindHearts for Charitable Humanitarian Dev. Inc. v. Geithner,
  647 F. Supp. 2d 857 (N.D. Ohio 2009)............................................................................... 14, 15

Kiyemba v. Obama,
  555 F.3d 1022 (D.C. Cir. 2009), vacated, 559 U.S. 131 (2010), reinstated in relevant part, 605
  F.3d 1046 (D.C. Cir. 2010) ..................................................................................................... 5, 6

Martinez-Aguero v. Gonzalez,
 459 F.3d 618 (5th Cir. 2006) ...................................................................................................... 7

Morrissey v. Bowser,
 408 U.S. 471 (1972) .................................................................................................................. 14

Nat'l Council of Resistance of Iran v. U.S. Dep’t of State (“Nat’l Council”),
  251 F.3d 192 (D.C. Cir. 2001) ........................................................................................... passim

People’s Mojahedin Org. of Iran v. U.S. Dep’t of State (“PMOI I”),
  182 F.3d 17 (D.C. Cir. 1999) .................................................................................................. 4, 8

People’s Mojahedin Org. of Iran v. Dep’t of State (“PMOI II”),
  327 F.3d 1238 (D.C. Cir. 2003) ......................................................................................... passim

                                                                   iii
            Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 5 of 25



People's Mojahedin Org. of Iran v. U.S. Dep't of State (“PMOI III”),
  613 F.3d 220 (D.C. Cir. 2010) ............................................................................................ 11, 18

Qassim v. Trump,
  927 F.3d 522 (D.C. Cir. 2019) ................................................................................................ 5, 6

Rasul v. Myers,
  563 F.3d 527 (D.C. Cir. 2009) .................................................................................................... 5

Suleman v. Mnuchin,
  No. CV 16-1822 (TJK), 2019 WL 77428 (D.D.C. Jan. 2, 2019).............................................. 16

Turkmen v. Ashcroft,
  No. 02-CV-2307 (JG), 2006 WL 1517743 (E.D.N.Y. May 30, 2006) ..................................... 10

United States v. Davis,
  905 F.2d 245 (9th Cir. 1990) ...................................................................................................... 4

United States v. Fantin,
  130 F. Supp. 2d 385 (W.D.N.Y. 2000) ....................................................................................... 7

United States v. Tehrani,
  826 F. Supp. 789 (D. Vt. 1993)................................................................................................... 7

United States v. Verdugo-Urquidez,
  494 U.S. 259 (1990) ................................................................................................................ 3, 4

Willis v. Nat’l Sec. Agency,
  No. 17-cv-2038 (KBJ), 2019 WL 1924249 (D.D.C. Apr. 30, 2019) ........................................ 10

Zadvydas v. Davis,
  533 U.S. 678 (2001) .................................................................................................................... 4

*Zevallos v. Obama,
  10 F. Supp. 3d 111 (D.D.C. 2014) ............................................................................ 8, 12, 13, 15

Zevallos v. Obama,
  793 F.3d 106 (D.C. Cir. 2015) .............................................................................................. 8, 17

Executive Materials

Exec. Order No. 13224, 66 Fed. Reg. 49079 (Sept. 23, 2001) ....................................................... 1

Exec. Order No. 13886, 84 Fed. Reg. 48041 (Sept. 9, 2019) ......................................................... 1

Statutes

5 U.S.C. § 555(e) .......................................................................................................................... 16


                                                                      iv
            Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 6 of 25



*50 U.S.C. § 1702(c) ...................................................................................................................... 9

Regulations

31 C.F.R. § 501.807 ........................................................................................................................ 8




                                                                      v
         Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 7 of 25



                                         INTRODUCTION

        The Office of Foreign Assets Control (“OFAC”) designated Plaintiff Mohammad Ibrahim

Bazzi as a Specially Designated Global Terrorist (“SDGT”) pursuant to Executive Order 13224

after finding that he was a key Hizballah financier who provided the terrorist organization millions

of dollars over many years. Rather than challenging those findings, Bazzi argues that he received

an inadequate explanation as to why he was designated in violation of the Fifth Amendment’s Due

Process clause and the Administrative Procedure Act (“APA”). 1

        But Bazzi cannot assert a Due Process claim because he fails to identify any property or

presence in this country that would allow him to assert such a right, and his brief fails to cite a

single case showing otherwise. See Pl.’s Mem. of P. & A. at 10-14, ECF Nos. 11-1, 12 (“Br.”). He

also cites no authority showing that the APA requires anything beyond the unclassified or otherwise

not protected portions of the administrative record that he already has. See id. at 22-24. The Court

should therefore reject his claims out of hand.

        In any event, his claims fare no better on the merits. Bazzi’s arguments stem from the agency’s

use of classified information that—for obvious reasons—it did not provide him. But the D.C. Circuit

and the International Emergency Economic Powers Act (“IEEPA”) allow the reliance on such

information. And notwithstanding the use of that classified information, Defendants provided

Bazzi with adequate notice, including a press release that identified the basis for his designation

and supporting facts, such as Bazzi providing a terrorist group with millions of dollars generated

from his business activities, countries where he operates, and his associates who were also

designated for their Hizballah connections. OFAC also published the basis for Bazzi’s designation

in the Federal Register. And when providing Bazzi the administrative record underlying his


1
 Although not at issue here, on September 9, 2019, the President signed Executive Order 13886,
“Modernizing Sanctions To Combat Terrorism,” which amended Executive Order 13224.
                                                  1
           Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 8 of 25



designation, the agency provided—even though there was no obligation to do so—an unclassified

summary of classified information. That summary provided Bazzi additional supporting details,

including identifying a country he utilized to transfer funds to Hizballah; a relationship that he

facilitated between a Hizballah member and a narcotics trafficker; specific companies he operated

with a Hizballah member; and timeframes.

          Such disclosures provided Bazzi ample opportunity to respond and contest facts supporting

his designation. Tellingly, he declined to do so, effectively conceding the truth of OFAC’s

findings, and his attacks on the agency’s extensive notice have no merit. The Court should enter

judgment for Defendants and deny Bazzi’s motion for summary judgment.

                                               ARGUMENT

   I.        Bazzi Cannot Assert a Due Process Claim, and Even If He Could, Defendants
             Provided Him with More Notice Than was Due.

          Bazzi maintains that he has received only “conclusory allegations” supporting his

designation in violation of the right to adequate post-deprivation notice under the Due Process

clause. Br. at 1-2, 10-22. He requests that the Court “direct[] Defendants either to disclose the

redacted portions of the administrative record or to provide alternative means by which Bazzi can

understand the factual bases for his designation.” Br. at 10. But Bazzi lacks sufficient connections

to the United States to assert a Due Process violation, and in any event, his claim fails on the

merits.

   A. Bazzi Cannot Establish A Connection to the United States Warranting Due Process
      Protection, and His Argument Lacks Supporting Precedent.

          Defendants already explained how Bazzi, a foreign national who effectively concedes that

he has no property in the United States, see Br. at 13, cannot assert Due Process rights here. See

Defs.’ Mem. of P. & A. at 11-12, ECF No. 10-1 (“Defs.’ Opening Br.”). In response, Bazzi fails

to cite a single case showing that he may do so. Instead, he asserts that the application of Due

                                                  2
          Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 9 of 25



Process rights is “case-specific,” arguing that Defendants’ “misplaced reliance” on the precedent

that forecloses his claim and that this Court should instead look to litigation regarding habeas

petitions for Guantanamo Bay detainees. Br. at 10-12. And in any event, he maintains that he has

“substantial connections” to the United States such that he can claim Due Process rights. Id. at

12-13. Both points are mistaken.

    1. Bazzi Fails To Provide Precedent Showing That He May Assert A Due Process Claim
       Here.

         “The Supreme Court has long held that non-resident aliens who have insufficient contacts

with the United States are not entitled to Fifth Amendment protections,” Jifry v. FAA, 370 F.3d

1174, 1182 (D.C. Cir. 2004) (collecting cases), and consistent with that precedent, the D.C. Circuit

has declined to extend the Due Process Clause to foreign terrorist organizations (“FTO”) “without

property or presence” in the sovereign territory of the United States, see, e.g., People’s Mojahedin

Org. of Iran v. Dep’t of State (“PMOI II”), 327 F.3d 1238, 1240–41 (D.C. Cir. 2003). These FTO

cases “provide guidance” here, see Kadi v. Geithner, 42 F. Supp. 3d 1, 25, 28 (D.D.C. 2012), and

Bazzi’s Due Process claim fails under this precedent because he resides in Lebanon, see Am.

Compl. ¶ 9, ECF No. 9, and he effectively concedes that he lacks any property in the U.S., see Br.

at 13.

         Without any case law establishing that he has Due Process rights, Bazzi tries to discredit

the precedent that forecloses his claim. He argues that United States v. Verdugo-Urquidez, 494

U.S. 259 (1990), did not establish a “bright-line rule” for who merits Fifth Amendment rights, and

instead “identified certain exceptions” under which aliens may claim constitutional protections.

Br. at 10-11. But Bazzi’s argument is internally inconsistent—the application of “exceptions”

assumes that a rule otherwise would apply. And the FTO precedent applying Verdugo-Urquidez

reveals the relevant rule: “[a] foreign entity without property or presence in this country has no


                                                 3
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 10 of 25



constitutional rights, under the due process clause or otherwise.” People’s Mojahedin Org. of Iran

v. U.S. Dep’t of State (“PMOI I”), 182 F.3d 17, 22 (D.C. Cir. 1999); 2 see also Zadvydas v. Davis,

533 U.S. 678, 693 (2001) (“It is well established that” the “Fifth Amendment’s protections” are

“unavailable to aliens outside of our geographic borders”). In any event, Bazzi cannot show that

he fits within any recognized exception. See infra Part I.A.2. 3 Bazzi notes that Jifry did not decide

whether Due Process applied because the court was satisfied with the provided process, Br. at 11

(citing 370 F.3d at 1182-83), but such an assumption casts no doubt on the D.C. Circuit’s reading

of Supreme Court precedent, which the court “has applied . . . in a series of cases concerning the

designation of” FTOs, Jifry, 370 F.3d at 1183 (internal quotation marks and brackets omitted). 4



2
  Quoting Verdugo-Urquidez, PMOI I went on to explain that “[a]liens receive constitutional
protections [only] when they have come within the territory of the United States and developed
substantial connections with this country.” 182 F.3d at 22 (quoting 494 U.S. at 271).
Subsequently, Nat'l Council of Resistance of Iran v. U.S. Dep’t of State, read the word “only” in
Verdugo-Urquidez to “limit[] the application of prior precedent,” and that the case did not
establish whether individuals with connections to the U.S. but not “substantial” ones are entitled
to constitutional protections. 251 F.3d 192, 202 (D.C. Cir. 2001). Regardless, Bazzi cannot
show any connection here warranting the Due Process protection he seeks. See infra Part I.A.2.
3
   Bazzi cites Hernandez v. United States, 757 F.3d 249, 268 (5th Cir. 2014), but fails to
acknowledge that the judgment was subsequently vacated. See Hernandez v. United States, 785
F.3d 117, 120 (5th Cir. 2015) (en banc), vacated & remanded sub nom. Hernandez v. Mesa, 137
S. Ct. 2003 (2017). In any event, that case bears no resemblance to the one here, as the panel there
initially found the Fifth Amendment to apply extraterritorially to an “undefined area on the
Mexican side of the U.S.-Mexico border” that the majority determined was “analogous to the
United States Naval Station at Guantanamo Bay, Cuba.” Hernandez, 757 F.3d at 281 (DeMoss,
J., concurring in part and dissenting in part). And Bazzi’s citation to United States v. Davis, 905
F.2d 245, 251 (9th Cir. 1990), undermines his point because it shows that Courts do not limit
Verdugo-Urquidez to its facts, see 905 F.2d at 251 (finding no Fourth Amendment violation in
search of ship because “the analysis and language adopted by the [Supreme] Court creates no
exception for searches of nonresident aliens on the high seas”).
4
 Bazzi quotes the observation in Jifry that the case “concerns alien pilots only.” Br. at 11 (quoting
Jifry, 370 F.3d at 1177). To the extent that he thinks that shows the case cannot apply here, he is
mistaken. Bazzi omitted the rest of the sentence which makes clear that the Court was simply
describing the plaintiffs, as it went on to explain that “citizens and resident alien pilots” brought a
separate lawsuit. 370 F.3d at 1177.
                                                  4
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 11 of 25



Moreover, whatever the quantum of connections required for due process protections to apply,

Bazzi can hardly deny that the D.C. Circuit singularly requires as a preliminary step that an entity

have some connection or presence, e.g., 32 Cty. Sovereignty Comm. v. U.S. Dep’t of State, 292

F.3d 797, 799 (D.C. Cir. 2002); accord Nat'l Council of Resistance of Iran v. U.S. Dep’t of State

(“Nat’l Council”), 251 F.3d 192, 202 (D.C. Cir. 2001) (finding “substantial connections”), and

Bazzi can claim neither, see infra Part I.A.2.       Cf. Kadi, 42 F. Supp. 3d at 28 (assuming

constitutional protection where case involved “arguably a factual dispute” over whether plaintiff

had “sufficient connection”).

       Unable to meaningfully distinguish this relevant precedent, Bazzi turns to litigation

surrounding habeas corpus petitions from detainees at Guantanamo Bay. Br. at 11-12. But those

cases involve the obviously different scenario concerning law-of-war detention of alien enemy

combatants during ongoing hostilities—they in no way speak to whether foreign nationals who do

not reside or have property in the United States can assert Due Process challenges in challenging

economic sanction programs. Boumediene v. Bush held only that “Art. I, § 9, cl. 2 of the

Constitution”—which prohibits Congress from suspending the writ of habeas corpus—“has full

effect at Guantanamo Bay” in the specific context of law-of-war detainees who had been detained

there for an extended period. 553 U.S. 723, 771 (2008). The case turned on the unique role of the

Suspension Clause in the separation of powers, see e.g., id. at 725, 746, and the Court admonished

that its decision “[did] not address the content of the law that governs” the detainees’ detention,

id. at 798; Rasul v. Myers, 563 F.3d 527, 529 (D.C. Cir. 2009) (per curiam) (recognizing

circumscribed reach of holding). Likewise inapposite, Qassim v. Trump, 927 F.3d 522 (D.C. Cir.

2019), held that Kiyemba v. Obama, 555 F.3d 1022 (D.C. Cir. 2009), did not constitute binding




                                                 5
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 12 of 25



Circuit precedent as to “whether Guantanamo detainees enjoy procedural due process protections

under the Fifth Amendment . . . in adjudicating their habeas petitions,” Qassim, 927 F.3d at 528. 5

The Court declined to decide (or even opine on) the merits of the petitioner’s procedural due

process claim, instead remanding to the district court “to consider in the first instance whether and

how the Due Process Clause” applied. Id. at 524-25, 528, 532. Bazzi is therefore wrong to suggest

that these cases disturb the well-settled precedent that show Bazzi cannot assert a Due process

claim here.

    2. Bazzi Has Not Shown a Connection to the United States Warranting Due Process.

       Bazzi nevertheless maintains that he can show “substantial connections” with this country

such that he can assert “a colorable claim to constitutional due process” under Verduro-Urquidez.

Br. at 13. In support, he cites “consequences” of the Hizballah Financial Sanctions Regulations

(“HFSR”) and his purported past travel to the United States, Br. at 12-13, but he cannot rely on

either because no such allegations appear in his amended complaint, e.g., Jo v. Dist. Of Columbia,

582 F. Supp. 2d 51, 64 (D.D.C. 2008) (“It is well-established in this district that a plaintiff cannot

amend his Complaint in an opposition to a defendant’s motion for summary judgment.”). In any

event, these two purported bases—neither of which is supported with case law—fail to show that

Bazzi can assert his constitutional claim.

       By his own admission, HFSR yields an “extraterritorial consequence” that purportedly

impacts his “personal and business financial accounts in various countries.” Br. at 12-13. But he

nowhere alleges any U.S. property is impacted, and the D.C. Circuit requires “property or presence


5
  Kiyemba recognized that “the due process clause does not apply to aliens without property or
presence in the sovereign territory of the United States,” and accordingly held that clause could
not support the district court’s order that the government release seventeen Guantanamo detainees
into the United States. See Kiyemba v. Obama, 555 F.3d 1022, 1026-27 (D.C. Cir. 2009), vacated,
559 U.S. 131 (per curiam), reinstated in relevant part, 605 F.3d 1046 (D.C. Cir. 2010) (per
curiam).
                                                  6
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 13 of 25



in this country,” 32 Cty., 292 F.3d at 799 (emphasis added). Bazzi cannot create an exception by

arguing that the consequences of his actions have created a “dire” financial situation for him. See

Nat’l Council, 251 F.3d at 196 (describing impact of FTO designation, including “[p]erhaps most

importantly,” forbidding persons within or subject to U.S. jurisdiction from “‘knowingly providing

material support or resources,’ to the” FTO).

       Bazzi’s purported “voluntar[y] travel[]” to the United States, Br. at 13, likewise provides

him no Fifth Amendment protection here. He does not even describe the date or purpose of the

supposed visit, let alone any plausibly pled factual assertion that would tie this purported visit to

the instant dispute. Such absence only underscores his lack of connection to this country. See

United States v. Fantin, 130 F. Supp. 2d 385, 391 (W.D.N.Y. 2000) (past travel to the United

States failed to satisfy substantial connections “standard set by Verdugo-Urquidez” because

otherwise “every foreign visitor to the United States could conceivably invoke Fourth Amendment

protections against searches in his own country”). And Bazzi’s cited cases, Br. at 13, stand for

nothing more than the unremarkable proposition that a plaintiff may challenge allegedly

unconstitutional conduct that occurred while an individual is in the country. See Martinez-Aguero

v. Gonzalez, 459 F.3d 618, 623, 625 (5th Cir. 2006) (alleged incident occurred “within the

territorial jurisdiction of the U.S.” when plaintiff had “regular and lawful entry . . . pursuant to a

valid border-crossing card and h[ad] acquiesce[ed] in the U.S. system of immigration”); United

States v. Tehrani, 826 F. Supp. 789, 793 n.1, 794-97 (D. Vt. 1993) (criminal defendants could raise

constitutional defenses to their arrests that occurred in the United States); cf. 32 Cty., 292 F.3d at




                                                  7
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 14 of 25



799 (holding no process needed for organization without property interest or current presence in

country). 6

        Because Bazzi lacks a connection to the United States triggering Fifth Amendment

protections, his Due Process claim fails.

    B. Defendants Have Provided Bazzi Ample Notice, and Thus his Due Process Claim
       Fails on the Merits.

        Defendants previously explained how they satisfied any constitutional requirement

because they provided Bazzi a basis to understand his designation and an opportunity offer rebuttal

evidence and arguments. Defs.’ Opening Br. at 13 (citing Zevallos v. Obama, 10 F. Supp. 3d 111,

131 (D.D.C. 2014), aff’d, 793 F.3d 106 (D.C. Cir. 2015)). Bazzi claims that such a basis must be

accompanied by an “opportunity to make a meaningful response,” Br. at 14-15, but that is precisely

what he had here. The agency issued a press release on the day of his designation disclosing facts

underlying his designation, published the basis for his designation in the Federal Register, and

provided him the administrative record underlying his designation, including an unclassified

summary of classified information. Defs.’ Opening Br. at 5-10, 12-16. With this information,

Bazzi has a clear path under OFAC’s regulations to “seek administrative reconsideration” of his

designation or to assert that the circumstances no longer apply. See 31 C.F.R. § 501.807.

        Rather than pursuing that opportunity, Bazzi questions the Government’s ability to rely

upon undisclosed classified information, and asserts that even if such reliance is appropriate, he




6
  Bazzi claims that 32 County, 292 F.3d at 799, held that “‘presence in this country’ is sufficient
for the due process clause,” Br. at 13, but that court echoed Peoples Mojahedin, which held that
an entity without either has no due process rights. It never opined as whether presence alone would
suffice. See PMOI I, 182 F.3d at 22. And in National Council, where the D.C. Circuit found a
constitutional right, the entity had both an “overt presence within the National Press Building,” as
well as property, i.e., “an interest in a small bank account.” 251 F.3d at 201.
                                                 8
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 15 of 25



has not been provided “with sufficient reasons as to the basis of his designation.” Br. at 10. He is

mistaken.

    1. IEEPA Allows Defendants to Use Undisclosed Classified Information, and Courts
       Regularly Allow the Practice.

        Bazzi claims that the Government’s reliance on undisclosed classified information is

“presumptively unconstitutional,” and reserved for “the most extraordinary circumstances.” Br.

at 17 (citation omitted). But IEEPA specifically contemplates ex parte and in camera use of

classified information, see 50 U.S.C. § 1702(c), and the agency “need not disclose the classified

information to be presented in camera and ex parte to the court” under the Due Process clause,

Nat’l Council, 251 F.3d at 208-09; see also Holy Land Found. for Relief & Dev. v. Ashcroft, 333

F.3d 156, 164 (D.C. Cir. 2003) (stating that “‘due process require[s] the disclosure of only the

unclassified portions of the administrative record’”) (quoting PMOI II, 327 F.3d at 1242)).

“[A]mple precedent” allows agencies to “use certain sensitive information, without disclosing it,

in proceedings imposing targeted financial measures on persons and organizations.” FBME Bank

Ltd. v. Lew, 125 F. Supp. 3d 109, 118–19 (D.D.C. 2015) (collecting cases); see also Defs.’ Opening

Br. at 15-16 (providing examples). The inapposite Ninth Circuit case that Bazzi relies upon—

which involved use of classified information in summary proceedings to exclude long-time

resident aliens—provides no reason for this Court to depart from the normal course here. See Al

Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury, 686 F.3d 965, 981 (9th Cir. 2012)

(describing Am.-Arab Anti-Discrimination Comm. v. Reno, 70 F.3d 1045, 1052-54 (9th Cir.

1995)). 7


7
  Defendants already satisfied any “burden,” Br. at 17, to not disclose classified information to
Bazzi, as the record confirms that they provided him “a true, correct, and complete copy of the
non-privileged documents that were directly or indirectly considered . . . .” Certification of A.R.
¶ 4, ECF No. 8-1. To the extent Bazzi thinks that more is required, see Br. at 17 & nn.1-2, he is
mistaken. He cites inapposite cases involving privilege disputes in civil discovery, see In re
                                                 9
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 16 of 25



       Similarly, Bazzi claims that the D.C. Circuit allows the use of undisclosed, classified

information only if there is no alternative means of disclosure, Br. at 17-18, and that the

Government must use another procedural safeguard in such situations—“sufficiently specific

‘unclassified summaries’ that provide the ‘who,’ ‘what,’ ‘when,’ and ‘where’ of the allegations,”

Br. at 18-19 (quoting Fares v. Smith, 901 F.3d 315, 319, 324 (D.C. Cir. 2018)). But Bazzi provides

no case holding that there must be no alternative means of disclosure to use classified information, 8

and the D.C. Circuit has not imposed the “procedural safeguard” that he describes. To the contrary,

the D.C. Circuit in Jifry, for example, held that the Government satisfied the notice requirements

of due process by informing foreign national pilots that their airmen certificates had been revoked

based on TSA’s determination that they were a “security threat,” even though the notice of that

revocation “did not include the factual basis for” that determination, “which was based on

classified information,” and plaintiffs argued that “without knowledge of the specific evidence on

which TSA relied, they [were] unable to defend against the charge that they are security risks.”

370 F.3d at 1178, 1184 (noting that D.C. Circuit “rejected the same argument” that an agency is

not permitted to rely on undisclosed classified information with respect to the designations of



Anthem, Inc. Data Breach Litig., 236 F. Supp. 3d 150 (D.D.C. 2017), Turkmen v. Ashcroft, No.
02-CV-2307 (JG), 2006 WL 1517743, at *3 (E.D.N.Y. May 30, 2006), or a Freedom of
Information Act claim, see Willis v. Nat’l Sec. Agency, No. 17-cv-2038 (KBJ), 2019 WL 1924249
(D.D.C. Apr. 30, 2019), Carter v. Nat'l Sec. Agency, 962 F. Supp. 2d 130, 140 (D.D.C. 2013). But
this action is reviewed on the administrative record, where separate rules apply. See, e.g., L. Cv.
R .7(h)(2), (n); FBME Bank Ltd. V. Lew, 209 F. Supp. 3d 299, 317 (D.D.C. 2016) (“it is far from
the norm to require agencies to produce privilege logs when they exclude material from an
administrative record”); Fares v. Smith, 249 F. Supp. 3d 115, 129 n.3 (D.D.C. 2017).
8
  Bazzi’s string cite to support this assertion undermines his claim. See Nat’l Council, 251 F.3d at
208 (notice “need not disclose the classified information to be presented in camera and ex parte
to the court under the statute”); PMOI II, 327 F.3d at 1242 (rejecting argument that opportunity to
challenge was not meaningful, explaining that “due process required the disclosure of only the
unclassified portions of the administrative record”); Holy Land, 333 F.3d at 164 (similar).


                                                 10
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 17 of 25



FTOs in Nat’l Council, 251 F.3d at 208 and PMOI II, 327 F.3d at 1242-43). And in Holy Land,

the D.C. Circuit held that due process permitted the government, pursuant to IEEPA, to rely on

classified information submitted ex parte and in camera to support the designation of a domestic

entity as a SDGT, finding the argument “that due process prevents its designation based upon

classified information to which it has not had access is of no avail.” 333 F.3d at 164. 9

       Bazzi tries to root his requested “procedural safeguard” in Fares v. Smith, 901 F.3d 315

(D.C. Cir. 2018), but that case imposes no such requirement. That court permitted the reliance on

summaries of protected information to support a designation, but did not squarely hold that such

summaries are required. Fares, 901 F.3d at 324-25 (acknowledging out-of-circuit precedent

“countenancing the use of summaries” of classified information, without holding that due process

requires the provision of such summaries). Fares had no occasion to mandate such a requirement,

as the plaintiffs “present[ed] a single claim on a single theory” that OFAC could not rely upon

undisclosed information in the administrative record at all, a claim that the D.C. Circuit easily

rejected. Id. at 323, 325-26. Further, Bazzi is wrong that any notice must take a prescribed form,




9
  Bazzi points (again) to an out-of-circuit decision that distinguished Holy Land, Br. at 15 (citing
Al Haramain Islamic Found., Inc. v. U.S. Dept. of Treasury, 686 F.3d 965, 987 (9th Cir. 2012)).
In doing so, the Ninth Circuit stated that it “appear[ed]” that the plaintiffs in Holy Land did not
raise the issue of whether due process requires a statement of reasons and the notice sufficiently
stated the reasons for the investigation. Al Haramain, 686 F.3d at 988. But Holy Land does not
say as much, and Al Haramain acknowledged that Holy Land (and National Council) “may suggest
that a statement of reasons is not required by due process,” before explaining that it was bound to
follow a prior case’s holding even if the D.C. Circuit cases were in conflict. 686 F.3d at 988.

        Also, Bazzi muses that a classified record “essential to upholding the action” may present
Due Process concerns. Br. at 16 (citing People's Mojahedin Org. of Iran v. U.S. Dep't of State
(“PMOI III”), 613 F.3d 220, 231 (D.C. Cir. 2010) (per curiam). But Bazzi has been provided
ample unclassified information that adequately supports his designation independent of any
classified information, see infra Part III, and in any event, binding D.C. Circuit precedent has
rejected due process challenges where administrative decisions relied on classified material, see
PMOI III, 613 F.3d at 231-32 & n.2 (Henderson, J., concurring).
                                                 11
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 18 of 25



as Due Process “requires only that process which is due under the circumstances of the case.”

PMOI II, 327 F.3d at 1242 (emphasis added); see also, e.g., Al Haramain, 686 F.3d at 983

(acknowledging that an unclassified summary may not always be possible). In short, while “courts

have recognized that unclassified summaries of classified information on which an agency relied

may be helpful to litigants, they are not required.” FBME Bank, 125 F. Supp. 3d at 119 n.2.

   2. Bazzi’s Complaints with the Extensive Notice Defendants Provided Do Not Establish
      a Due Process Violation.

       Even though the agency provided Bazzi the basis for his designation and supporting facts,

Bazzi insists that he has not been provided with sufficient reasons for his designation. But due

process requires only that OFAC provide Bazzi with “a basis from which to understand his

designation, and thereby offer rebuttal arguments and evidence in response,” Zevallos, 10 F. Supp.

3d at 131; see also Fares v. Smith, 249 F. Supp. 3d 115, 127 (D.D.C. 2017), aff’d, 901 F.3d 315

(D.C. Cir. 2018). Defendants easily met that standard.

       To briefly summarize: (1) on the day of his designation, the agency’s press release

announced the basis for Bazzi’s designation, see A.R. at 4 (“assisting in, sponsoring, or providing

financial, material, or technological support for, or financial or other services to or in support of,

Hizballah”); and provided supporting facts, including by expanding on his illicit activities

underlying that basis, id. (“key Hizballah financier” who provided the terrorist group “financial

assistance for many years”); quantifying that support, id. (“millions of dollars”); disclosing the

source of the support, id. (“his business activities”); and identifying associates, id. at 5 (Hizballah

financiers Adham Tabaja and Ali Youssef Charara). OFAC also (2) published the basis for Bazzi’s

designation in the Federal Register. A.R. 16. And (3) on top of that, OFAC provided Bazzi further

detail via an unclassified summary of otherwise classified information in his evidentiary

memorandum, including by expanding on his work with associates, A.R. at 1 (facilitating the


                                                  12
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 19 of 25



relationship between Sharara and a designated narcotics trafficker); providing a location for illicit

activities, id. (The Gambia), identifying specific joint businesses he operated with a Hizballah

member, id. (Spectrum Investment Group S.A.L. Holding and Euro Africa Group), and providing

timeframes for some of his activities, id. (“As of 2017”).

       Notwithstanding all of the above, Bazzi complains that the Government did not adequately

identify the “activities themselves,” an amount or source of his support for Hizballah, or other

“specifics” regarding his ties with his associates that underlie his designation. Br. at 19-20. Aside

from the fact Defendants did disclose those sorts of details, see supra, nothing beyond Defendants’

disclosures was needed to provide Bazzi a basis from which to understand his designation, see

Zevallos, 10 F. Supp. 3d at 131. Indeed, his argument conflicts with the well-recognized principle

that the Government may “supply privileged information in summary form,” Fares, 249 F. Supp.

3d at 128 (emphasis added), and it is hardly surprising when “summaries [are] not highly fact-

specific[ to] ensur[e] that neither . . . sources nor national security [are] compromised,” Kiareldeen

v. Ashcroft, 273 F.3d 542, 548 (3d Cir. 2001)).

       The disclosures provide Bazzi more than sufficient opportunity to challenge his designation

beyond simply “blanket denials.” Br. at 20-21. For example, he could try to show that he does

not funnel money to the terrorist organization from his businesses; that he does not have “direct

ties” to Hizballah financiers Ali Youssef Charara and Adham Husayn Tabaja; or that he did not,

as of early 2017, facilitate a relationship between Hizballah member Ali Sharara and designated

narcotics trafficker Ali Kharroubi. A.R. 1. And though he claims to not know “which businesses

and/or business lines” he could audit, Br. at 21-22, he could start with the two that OFAC

specifically identified that he operated with a Hizballah member, or any other dealings he may




                                                  13
          Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 20 of 25



have in The Gambia, the country OFAC identified him utilizing to transfer funds to Hizballah.

A.R. 1.

          Bazzi’s notice was not therefore “too conclusory.” Joumaa v. Mnuchin, No. CV 17-2780

(TJK), 2019 WL 1559453, at *10 (D.D.C. Apr. 10, 2019) (rejecting similar argument); Fares, 249

F. Supp. 3d at 127-28 (rejecting argument that plaintiffs needed “more specific information

regarding the transaction that OFAC believes were used to facilitate money laundering”). Bazzi

tries to distance Joumaa, see Br. at 22, but like in that case, the notice here provided details “about

[Bazzi’s] alleged [illicit] activities,” including “amounts of money,” the “type” of support, “time

frames, and locations,” and his “associations with other” blocked persons. Joumaa, 2019 WL

1559453, at *10. While Bazzi notes that case involved a three-page letter denying his petition for

delisting, see Br. at 22, that simply highlights steps he failed to take here, see Joumaa, 2019 WL

1559453, at *3 (explaining that plaintiff’s petition for delisting “led to a lengthy dialogue with

OFAC” and he “submitted information about his relationships with 55 individuals and 95 entities

on the SDN list,” and “extensive documentation”). 10

          And despite his repeated references, this case bears no resemblance to the out-of-circuit

decisions in KindHearts for Charitable Humanitarian Development Inc. v. Geithner, 647 F. Supp.




10
  Bazzi also references the length of the unclassified summaries in Fares, Br. at 15, 21, but the
fact that OFAC could provide more information there—which involved multiple plaintiffs—in
no way casts doubt on the constitutionality of the notice here. See Morrissey v. Bowser, 408 U.S.
471, 481 (1972) (“[D]ue process is flexible and calls for such procedural protections as the
particular situation demands.”); see also Certification of A.R. ¶ 4 (certifying that Bazzi received
“a true, correct, and complete copy of the non-privileged documents that were directly or
indirectly considered . . . .”). Moreover, Fares involved a designation under the Foreign
Narcotics Kingpin Designation Act that relied on law enforcement sensitive information, Fares,
901 F.3d at 320, as opposed to classified information at issue here, the disclosure of which would
harm the national security of the United States, see id. at 324 (“Forcing the executive branch to
disclose information that it has validly classified would compel a breach in the security which
that branch is charged to protect.”) (quotations and citations omitted).
                                                  14
         Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 21 of 25



2d 857 (N.D. Ohio 2009), and Al Haramain. As an initial matter, those cases—unlike this one—

involved domestic entities, and thus due process protections that do not apply here. See Al

Haramain, 686 F.3d at 979; KindHearts, 647 F. Supp. 2d at 864. In any event, KindHearts

concluded that the summaries there “provided no explanation of the specific charges [OFAC] was

considering against KindHearts or why it thought the evidence supported a potential designation,”,

and left the petitioner “largely uninformed about the basis for the government’s actions,”

KindHearts, 647 F. Supp. 2d at 868, 904; Zevallos, 10 F. Supp. 3d at 130-31; see also Kadi, 42 F.

Supp. 3d at 29 n.16 (distinguishing KindHearts, noting that the notice there included listing

designation criteria and “numerous delays, failures to respond, and misplacing of plaintiff’s

submissions without any further explanation”). Similarly, Al Haramain involved a “significantly

untimely and incomplete notice” that provided “only one of three reasons for [the agency’s]

investigation and designation.” 686 F.3d at 986. Bazzi is thus “unlike the plaintiffs in Al

Haramain and KindHearts, who were left in the dark as to the reasons for their designations.”

Fares, 249 F. Supp. 3d at 127.

         In sum, even if Bazzi could assert a Due Process claim (and he cannot), that claim fails on

the merits.

   II.        Bazzi Confirms that his APA Claim Lacks Any Statutory Foundation and is
              Without Precedent.

         Bazzi also tries to assert his Due Process claim under the APA, arguing that he “is

challenging the adequacy of notice under the broader due process requirements imposed on OFAC

under the APA.” Br. at 24. According to Bazzi, “traditional concepts of due process are

incorporated into administrative law,” and “OFAC’s lack of procedural safeguards and regulations

for the designation process under the APA” mean that “the requirements of due process apply.”

Br. at 22-23.


                                                 15
          Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 22 of 25



          But Bazzi has no Due Process rights, see supra Part I.A.1, and the APA does not

independently confer constitutional rights to individuals who otherwise lack such protection.

Rather, it allows those with constitutional rights to argue that an action is unlawful by alleging that

those rights were violated by an agency’s action. Bazzi’s cited cases indicate as much. See, e.g.,

Al Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury, 585 F. Supp. 2d 1233, 1243, 1253-

54 (D. Or. 2008) (domestic entity); Howmet Corp. v. EPA., 656 F. Supp. 2d 167, 169 (D.D.C.

2009) (same), aff'd sub nom. Howmet Corp. v. EPA., 614 F.3d 544 (D.C. Cir. 2010); Hill v. U.S.

Parole Comm'n, No. CV 16-1476 (JEB), 2017 WL 2414446, at *1 (D.D.C. June 2, 2017) (prisoner

seeking parole from U.S. Parole Commission). Bazzi fails to cite a single case where the APA

conferred constitutional rights to a litigant to otherwise lacks such rights.

          Unable to show an entitlement to anything beyond the administrative record, see Defs.’

Opening Br. at 16-17, Bazzi cannot establish that the notice he received violates the APA.

Whatever level of notice might be required by the APA was plainly satisfied here in light of (i) the

May 17, 2018 press release, (ii) the April 19, 2019 Federal Register notice, and (iii) the

administrative record, including (iv) the unclassified summary of classified information in the

evidentiary memorandum. See supra Part I.B. The adequacy of this notice is underscored by

Bazzi’s attempt to distinguish Suleman v. Mnuchin, which he notes involved 5 U.S.C. § 555(e)

because the designee there, unlike him, submitted a delisting petition. Br. at 24. This only

confirms Bazzi cannot avail himself of that “notice provision” in the APA, Suleman v. Mnuchin,

No. CV 16-1822 (TJK), 2019 WL 77428, at *7 (D.D.C. Jan. 2, 2019), and his argument lacks any

other statutory provision entitling him to anything beyond what he has already received.

          Bazzi’s APA claim fails.

   III.      Bazzi Cannot Show Entitlement to Relief Because Ample Evidence Supports His
             Designation as a SDGT and He Did Not Dispute the Basis for His Designation.

                                                  16
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 23 of 25



       Because ample evidence supports Bazzi’s designation, and Bazzi did not dispute the fact

that he is a key Hizballah financier, Defendants previously explained that even if there were some

error with the notice that he received (and there is not), any such error would be harmless. See

Defs.’ Opening Br. at 17-18 (citing Al Haramain, 686 F.3d at 990). Bazzi makes three points in

response, but none allow him to escape this conclusion.

       First, Bazzi claims that he “does not . . . concede” that he is a key Hizballah financier. Br.

at 25. But he failed to include anything in his amended complaint supporting that assertion, and

he cannot introduce new allegations here. See, e.g., Jo, 582 F. Supp. 2d at 64. Second, and in

some tension with his first point, Bazzi argues that Al Haramain is inapposite because plaintiffs

there challenged their designation, whereas he does not. Br. at 25. But that counsels in favor of

applying the harmless error rule because in declining to challenge his designation here, Bazzi

effectively admits his ties to Hizballah. “OFAC has provided ample opportunity” for him to

“present rebuttal evidence and to thereby supplement the administrative record,” Fares, 249 F.

Supp. 3d at 125, and though he has failed to do so, he “remains free now to continue contesting

his designation by filing new delisting requests, meaning that he can make any new arguments that

occur to him.” Joumaa, 2019 WL 1559453, at *11 n.15 (quoting Zevallos v. Obama, 793 F.3d

106, 117 (D.C. Cir. 2015)).

       And last, Bazzi asserts that Defendants “concede[d]” the inadequacy of notice because

“they acknowledge that they are critically relying on undisclosed classified material.” Br. at 25-

26 (citations omitted). Not so. Defendants plainly stated that the “unclassified administrative

record makes clear” that ample evidence supports his designation. Defs.’ Opening Br. at 17

(emphasis added); cf. Islamic Am. Relief Agency v. Gonzales, 477 F.3d 728, 734 (D.C. Cir. 2007)

(“We acknowledge that the unclassified record evidence is not overwhelming, but we reiterate that



                                                17
        Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 24 of 25



our review—in an area at the intersection of national security, foreign policy, and administrative

law—is extremely deferential.”). That alone provides the Court with enough to reject Bazzi’s Due

Process claim. See People’s Mojahedin Org. of Iran v. U.S. Dep't of State (“PMOI III”), 613 F.3d

220, 230-31 (D.C. Cir. 2010) (per curiam) (determining that providing FTO unclassified portions

of record satisfies due process); Chai v. U.S. Dep’t of State, 466 F.3d 125, 129 (D.C. Cir. 2006)

(declining to resolve due process claim because “we can uphold the designations based solely upon

the unclassified portion of the administrative record”). The fact that “the Court’s ex parte, in

camera review of the classified record will confirm” that ample evidence supports Bazzi’s

designation, Defs.’ Opening Br. at 17, is hardly surprising, and in no way a concession of

constitutional error. And in any event, the D.C. Circuit has rejected due process challenges where

administrative decisions relied on classified material, see PMOI III, 613 F.3d at 231-32 & n.2

(Henderson, J., concurring), including when the Government relied exclusively on such

information as the factual basis for its decision, see Jifry, 370 F.3d at 1184.

       No error occurred here, but even if the Court concluded otherwise, it would be harmless

and therefore insufficient to warrant the relief Bazzi seeks.

                                          CONCLUSION

       The Court should enter judgment for Defendants and deny Bazzi’s motion for summary

judgment.




                                                 18
       Case 1:19-cv-00484-RDM Document 13 Filed 10/21/19 Page 25 of 25



Dated October 21, 2019                   Respectfully submitted,

                                         JOSEPH H. HUNT
                                         Assistant Attorney General

                                         DIANE KELLEHER
                                         Assistant Branch Director

                                         /s/ Kevin Snell
                                         KEVIN SNELL
                                         Trial Attorney
                                         United States Department of Justice
                                         Civil Division, Federal Programs Branch
                                         1100 L Street, N.W.
                                         Washington, DC 20005
                                         Tel: (202) 305-0924
                                         Fax: (202) 616-8460
                                         Email: Kevin.Snell@usdoj.gov
